                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA                        )
                                                )
                                                )      No. 3:05-CR-96
V.                                              )      (JORDAN/GUYTON)
                                                )
WILLIAM TODD HISCOCK                            )




                    ORDER OF TEMPORARY DETENTION
             PENDING HEARING PURSUANT TO BAIL REFORM ACT


             The defendant appeared in custody before the undersigned on August 19, 2005,

for an initial appearance on an indictment.   Assistant United States Attorney David C.

Jennings was present representing the government. The defendant was not represented by

counsel. The government moved for a detention hearing to be held in three (3) days.      A

detention hearing and an arraignment are scheduled to commence before the Honorable C.

Clifford Shirley, Jr. on Tuesday, August 23, 2005, at 10:00 a.m.           The defendant

acknowledged and agreed that he would remain in detention. The defendant shall be held

in custody by the United States Marshal until, August 23, 2005, and produced for the above

scheduled hearing.

                                  ENTER:

                                                s/ H. Bruce Guyton
                                                United States Magistrate Judge




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